Case 0:19-cv-62801-RNS Document 1 Entered on FLSD Docket 11/08/2019 Page 1 of 13



                    UNITED STATES DISTRICT COURT FOR THE
                        SOUTHERN DISTRICT OF FLORIDA

                CASE NO. ____________- CIV-___________/____________


 DELMY CRUZ,
 on her own behalf and others similarly
 situated,

       Plaintiff,

 v.                                                       COLLECTIVE ACTION

 MEJIA VASQUEZ, INC.,
 a Florida Corporation, d/b/a
 Salt & Pepper Chef, and ROMEO
 MEJIA, an individual, jointly and
 severally,

       Defendants.
 ________________________________________/

                                     COMPLAINT

                                     Introduction

       Plaintiff, DELMY CRUZ (“Plaintiff”), on her own behalf and the employees

 similarly situated to her, hereby sues Defendant, MEJIA VASQUEZ, INC. d/b/a Salt

 & Pepper Chef, a Florida Corporation, and ROMEO MEJIA, an individual

 (hereinafter collectively, “Defendant” or “SALT & PEPPER CHEF”), for failing to pay

 minimum wages to all servers/waitpersons, however variously titled (hereinafter

 referred to as “servers”) pursuant to 29 U.S.C. §201 et seq. (hereinafter the “FLSA”)

 and the Florida Minimum Wage Act, Florida Statutes §448.110, and Fla. Const.

 Art. X §24 (hereinafter “FMWA”).

       1.     At all times material to this Complaint, Defendant has owned and

 operated a restaurant since its opening for at least five years prior to the filing of
Case 0:19-cv-62801-RNS Document 1 Entered on FLSD Docket 11/08/2019 Page 2 of 13



 this Complaint, in Pompano Beach, Broward County, Florida within the jurisdiction

 of this Court.

       2.    Defendant, ROMEO MEJIA, is an owner and operator of SALT &

 PEPPER CHEF, and meets the definition of employer pursuant to 29 U.S. Code

 § 203(d), in that MEJIA acted directly or indirectly in the interest of SALT & PEPPER

 CHEF, to wit: MEJIA hires, fires, disciplines, schedules, sets employee pay rates,

 and otherwise controls the terms of SALT & PEPPER CHEF’s employees.

       3.    Plaintiff, DELMY CRUZ, is an individual residing in Broward County,

 Florida.

       4.    At all times material to this Complaint, Defendant orchestrated a

 common policy and practice of paying its servers a flat daily rate of $25.00, which

 usually consisted of a 7-hour work shift. In addition, Defendant required its servers

 to perform side work each week that was not incidental to tip producing activities.

       5.    Because servers’ shifts were generally 7 hours, the effective hourly rate

 was approximately $3.57 per hour.

       6.    Tip credit workers in Florida must be paid a cash wage of at least $5.44

 per hour.

       7.    Plaintiff and other similarly situated servers were required to perform

 side work several hours per week that was not related to tip producing activities.

 Plaintiff should have been paid a minimum wage with no tip credit for this time.

       8.    Defendant violated the FLSA and FMWA by failing to pay class

 members within the past five (5) years at least the full minimum wage for all hours

 worked pursuant to the FLSA, the FMWA, and Fla. Const. Art X §24(c) (“Employers



                                           2
Case 0:19-cv-62801-RNS Document 1 Entered on FLSD Docket 11/08/2019 Page 3 of 13



 shall pay Employees Wages no less than the Minimum Wage for all hours worked

 in Florida.”) (emphasis added).

       9.     Plaintiff and proposed class members were/are hourly paid servers who

 have worked for Defendant within the last five (5) years at Defendant’s restaurant in

 North Lauderdale, Florida.

       10.    Plaintiff and the proposed class members were subjected to the same

 violations of the FMWA.      More specifically all servers were paid less than the

 minimum wage and were required to perform side work each week that was not

 incidental to tip producing activities.

       11.    Plaintiff and the proposed class members were subjected to the same

 violation of the FLSA. Specifically, all servers were paid less than the minimum

 wage and were required to perform side work that was not incidental to tip

 producing activities.   The class of similarly situated employees, potential class

 members sought to be certified, under 29 U.S.C. §216(b) is defined as:

              “All persons who worked for Defendant as servers during
              the three (3) years preceding this lawsuit and who were
              not paid at least the full minimum wage pursuant to the
              FLSA for each hour worked,”


 with the precise size and the identity of the FLSA Class should be ascertainable

 from the business records, tax records, and/or employee or personnel records of

 Defendant.

       12.    Plaintiff also seeks class certification under Fed. R. Civ. P. 23 of the

 following state law class under Florida state law:

       “All persons who worked for Defendant as servers during the
       five (5) years preceding this lawsuit, and who were not paid at


                                           3
Case 0:19-cv-62801-RNS Document 1 Entered on FLSD Docket 11/08/2019 Page 4 of 13



       least the full minimum wage pursuant to the FMWA for each
       hour worked.”

                                Jurisdiction & Venue

       13.   This action is brought under the FLSA and Florida law to recover from

 Defendant minimum wages, liquidated damages, and reasonable attorney’s fees and

 costs. This action is intended to include each and every hourly paid server who

 worked for Defendant at any time within the past five (5) years.

       14.   This Court has jurisdiction over Plaintiff’s claims pursuant to 28 U.S.C.

 §1331 and supplemental jurisdiction over Plaintiff’s Florida Constitution claim

 pursuant to 28 U.S.C. §1367 because the acts and omissions that give rise to

 Plaintiff’s state law claims are so related to claims in the federal causes of action

 that they form part of the same case or controversy under Article III of the United

 States Constitution.

       15.   This Court has jurisdiction and venue over this complaint as Plaintiff

 resides in this District, and Defendant’s violations of the FLSA and the FMWA took

 place in Broward County, Florida.

                            General Factual Allegations

       16.   At all times material to this Complaint, Plaintiff worked for Defendant

 at its restaurant located in Pompano Beach, Broward County, Florida.

       17.   Plaintiff, DELMY CRUZ, worked for Defendant as a server between

 approximately December 2018 and May 20, 2019.

       18.   Defendant could have deducted a tip credit of, inter alia, $3.02/hour

 [$8.46/hour - $5.44/hour = $3.02/hour], but instead paid servers a flat rate of

 $25.00 per day, which usually covered approximately 7 hours of time. In addition,


                                           4
Case 0:19-cv-62801-RNS Document 1 Entered on FLSD Docket 11/08/2019 Page 5 of 13



 servers were required to perform side work several hours per week that was not

 incidental to tip producing activities.

       19.    At all times material to this Complaint, SALT & PEPPER CHEF has had

 two (2) or more employees who have regularly sold, handled, or otherwise worked

 on goods and/or materials that have been moved in or produced for commerce. In

 this regard, Plaintiff alleges based upon information and belief and subject to

 discovery, that at all times material to this Complaint, SALT & PEPPER CHEF has

 employed two (2) or more employees who, inter alia: (a) regularly handled and

 worked on kitchen and commercial equipment—including but not limited to

 refrigerators and freezers, ovens, grills, fryers, blenders, coffee machines, stoves—

 that were goods and/or materials moved in or produced for commerce; (b) regularly

 handled and worked with food, beverages, and alcohol—including but not limited

 to cheese, meats, fish, vegetables, imported wines and beers, — that were goods

 and/or materials moved in or produced for commerce; and (c) regularly processed

 credit card transactions for payments by and for Defendant’s customers through

 banks and merchant services for credit card companies such as Visa, Mastercard,

 and American Express.

       20.    Based upon information and belief, the annual gross sales volume of

 SALT & PEPPER CHEF has been in excess of $500,000.00 per annum at all times

 material to this Complaint.

       21.    At all times material to this Complaint, SALT & PEPPER CHEF has

 been an enterprise engaged in interstate commerce or in the production of goods

 for commerce as defined by the FLSA, 29 U.S.C. §203(s), and within the meaning

 of the FMWA.

                                           5
Case 0:19-cv-62801-RNS Document 1 Entered on FLSD Docket 11/08/2019 Page 6 of 13



       22.      Defendant is in the business of providing food and drinks to the general

 public.

       23.      Defendant has employed Plaintiff and other servers (“class members” or

 the “class”) at Defendant’s restaurants since inception within the last five (5) years.

       24.      Plaintiff and the class members have worked for Defendant in Florida

 without being paid at least the full minimum wage for all hours worked due to

 Defendant’s illegal policy and practices of (1) paying Plaintiff and class members

 only $25.00 per 7-hour work shift; and (2) requiring Plaintiff and class members to

 perform side work that was not incidental to tip producing activities (preparing

 food, cleaning interior and exterior windows, cleaning chairs, bathrooms, tables

 and floors).

       25.      Plaintiff and all similarly situated employees have regularly performed

 a specific job for Defendant, i.e. serving food and/or and drinks, which is an

 integral part of the restaurant business of Defendant.

       26.      Defendant failed to properly utilize the tip credit and paid Plaintiff and

 all similarly situated servers below the applicable tipped minimum wage.

       27.      Based upon the foregoing practices, Defendant violated and continues

 to violate the terms of the tip-credit and the FLSA’s and the FMWA’s provision on

 minimum wages.

       28.      As a result of Defendant’s common policies, Plaintiff and each similarly

 situated server is entitled to receive compensation to bring each hour worked up to

 the minimum wage.

       29.      The additional persons who may become plaintiffs in this action are

 employees who are similarly situated to Plaintiffs (i.e. servers, waitpersons, however

                                              6
Case 0:19-cv-62801-RNS Document 1 Entered on FLSD Docket 11/08/2019 Page 7 of 13



 variously titled) in that: (1) they customarily and regularly received tips from and

 interacted with Defendant’s customers and who suffered from the same pay practice

 of being paid only $25.00 per day for approximately 7 hours of work; and (2) they

 were required to perform side work that was not incidental to tip producing

 activities.

        30.    Based upon information and belief, the records, to the extent any exist,

 concerning the number of hours worked and amounts paid to Plaintiff and other

 similarly situated servers are in the possession and custody of Defendant.

                        Collective/Class Factual Allegations

        31.    Class members are treated equally by Defendant. Plaintiff sues on her

 own behalf and on behalf of a class of persons under Rules 23(a), (b)(2) and (b)(3)

 of the Federal Rules of Civil Procedure.

        32.    Defendant subjected class members to the same illegal practice and

 policy by paying its servers only $25.00 per day for a seven-hour shift.

        33.    Defendant subjected class members to the same illegal practice and

 policy by requiring class members to perform side work that was not incidental to

 tip producing activities.

        34.    Based upon information and belief, Defendant has employed over

 twenty (20) class members who were paid only $25.00 per 7-hour workday within

 the past five (5) years. The exact number of members of each class can be

 determined by reviewing Defendant’s records.

        35.    Defendant pays class members in the same manner as Plaintiff, $25.00

 per 7-hour workday and also requires servers to perform side work that is not

 incidental to tip producing activities.

                                            7
Case 0:19-cv-62801-RNS Document 1 Entered on FLSD Docket 11/08/2019 Page 8 of 13



        36.    Additionally, Defendant has failed to keep accurate time and pay

 records for Plaintiff and all class members pursuant to 29 U.S.C. §211(c) and 29

 C.F.R. Part 516.

        37.    Defendant’s failure to keep accurate time and pay records casts the

 burden on Defendant to disprove the testimony of Plaintiff and all class members

 regarding the illegal manner in which they were paid.

        38.    At all times material to this Complaint, Defendant violated the FLSA

 and FMWA by paying its servers less than a minimum wage. Defendant has acted

 willfully in failing to pay Plaintiff and the class members in accordance with the

 law.

        39.    Plaintiff has retained the undersigned counsel to represent her in this

 action, and pursuant to 29 U.S.C. §216(b) and Florida law, Plaintiff is entitled to

 recover all reasonable attorney’s fees and costs from Defendant.

        40.    The claims under the FLSA may be pursued by those who opt-in to

 this case pursuant to 29 U.S.C. § 216(b).

        41.    The claims under the FMWA may be pursued by all similarly situated

 persons who choose not to opt-out of the state law sub-class pursuant to Fed. R.

 Civ. P. 23.

        42.    Plaintiff will fairly and adequately protect the interests of the class and

 has retained counsel that is experienced and competent in class action and

 employment litigation.

        43.    Plaintiff has no interests that are contrary to, or in conflict with, the

 members of the class.

        44.    A collective/class action suit, such as the instant one, is superior to

                                             8
Case 0:19-cv-62801-RNS Document 1 Entered on FLSD Docket 11/08/2019 Page 9 of 13



 other available means for fair and efficient adjudication of the lawsuit. The damages

 suffered by individual members of the class may be relatively small when compared

 to the expense and burden of litigation, making it virtually impossible for members

 of the class to individually seek redress for the wrongs done to them.

       45.   A collective and class action is, therefore, superior to other available

 methods for the fair and efficient adjudication of the controversy. Absent these

 actions, many members of the class likely will not obtain redress of their injuries

 and Defendant will retain the proceeds of their violations of the FLSA and the

 FMWA.

       46.   Further, even if every member of the class could afford individual

 litigation against Defendant, it would be unduly burdensome to the judicial system.

 Concentrating the litigation in one forum will promote judicial economy and parity

 among the claims of individual members of the class and provide for judicial

 consistency.

       47.   There is a well-defined community of interest in the questions of law

 and fact affecting the class as a whole. The questions of law and fact common to

 the class predominate over any questions affecting solely the individual members.

 Among the common questions of law and fact are:

             a.     Whether Defendant’s employed servers within the meaning of

                    the applicable statutes, including the FLSA;

             b.     Whether servers were uniformly, willfully and wrongfully paid

                    less than the minimum wage;




                                           9
Case 0:19-cv-62801-RNS Document 1 Entered on FLSD Docket 11/08/2019 Page 10 of 13



             c.    Whether Plaintiff and the class members were required to

                   perform side work that was not incidental to tip producing

                   activities;

             d.    What remedies are appropriate compensation for the damages

                   caused to Plaintiff and each member of the class; and

             e.    Whether Defendant’s failure to compensate Plaintiff and the

                   Class Members at the applicable minimum wage rates was

                   willful, intentional or done with reckless disregard.

       48.   The relief sought is common to the entire class including, inter alia:

             a.    payment by the Defendant of actual damages caused by their

                   failure to pay minimum wages pursuant to the FLSA and FMWA;

             b.    payment by the Defendant of liquidated damages caused by their

                   failure to pay minimum wages pursuant to the FLSA and FMWA;

             c.    payment by the Defendant of the costs and expenses of this

                   action, including the attorneys’ fees of Plaintiff’s counsel;

             d.    that Defendant ceases and desists from their illegal practices of

                   paying servers less than a minimum wage; and,

             e.    that Defendant ceases and desists from their illegal practices of

                   requiring servers to perform side work that is not incidental to

                   tip producing activities.

       49.   Plaintiff’s claims are typical of the claims of members of the class.

 Plaintiff and members of the class have sustained damages arising out of the same

 wrongful and uniform employment policy of Defendant – to wit, the policy of paying

 its servers only $25.00 per 7-hour workday, and the policy of requiring servers to

                                          10
Case 0:19-cv-62801-RNS Document 1 Entered on FLSD Docket 11/08/2019 Page 11 of 13



 perform work that is not incidental to tip producing activities, in violation of the

 FLSA and the FMWA.

       50.   At the time of the filing of this Complaint, Plaintiff knows of no difficulty

 that will be encountered in the management of this litigation that would preclude

 its continued maintenance.

                     FIRST CAUSE OF ACTION
   MINIMUM WAGE VIOLATIONS OF THE FAIR LABOR STANDARDS ACT, 29
                          U.S.C. §216(b)

       51.   Plaintiff realleges and reincorporates all allegations contained in

 Paragraphs 1 through 50 as though fully stated herein.

       52.   At all times material to this Complaint, Defendant has been, and

 continues to be, an employer engaged in interstate commerce and/or the

 production of goods for commerce, under the FLSA.

       53.   At all times material to this Complaint, Defendant employed Plaintiff

 and continued to employ similarly situated servers.

       54.   As set forth above, Defendant has at all times material to this

 Complaint, utilized a policy and practice of paying its servers only $25.00 per 7-

 hour workday.

       55.   As set forth above, Defendant has at all times material to this

 Complaint, utilized a policy and practice of requiring their servers to perform side

 work that was not incidental to tip producing activities.

       56.   Defendant’s policy and practice violates the FLSA’s tip credit and

 minimum wage provisions.

       57.   Defendant’s failure to pay Plaintiff and other servers the full minimum

 wage is a violation of 29 U.S.C. §206.

                                           11
Case 0:19-cv-62801-RNS Document 1 Entered on FLSD Docket 11/08/2019 Page 12 of 13



       58.   The foregoing conduct, as alleged, constitutes a willful violation of the

 FLSA within the meaning of 29 U.S.C. §255(a).

       WHEREFORE, Plaintiff, DELMY CRUZ, on her own behalf and other similarly

 situated servers, demands judgment against Defendant, SALT & PEPPER CHEF, for

 unpaid minimum wages, an additional and equal amount of liquidated damages,

 reasonable attorneys’ fees and costs incurred in this action, and any and all further

 relief that this Court determines to be just and appropriate.

                     SECOND CAUSE OF ACTION
  VIOLATION OF THE FLORIDA CONSTITUTION, ART. X, § 24, CHAPTER 448
                        FLORIDA STATUTES

       59.   Plaintiff realleges and reincorporates all allegations contained within

 Paragraphs 1 through 50 above as though fully stated herein.

       60.   Plaintiff and the other similarly situated servers are/were entitled to

 be paid the full minimum wage for each hour worked during their employment with

 Defendant within the last five (5) years.

       61.   During her employment with Defendant, Plaintiff and those similarly

 situated servers were only paid $25.00 per 7-hour work shift.

       62.   During her employment with Defendant, Plaintiff and those similarly

 situated servers were required to perform side work that was not incidental to tip

 producing activities.

       63.   Defendant willfully failed to pay Plaintiff and those similarly situated

 servers the full minimum wage for one or more weeks of work contrary to the

 FMWA.

       64.   As   a      direct   and   proximate   result   of   Defendant’s   deliberate

 underpayment of wages, Plaintiff and the other similarly situated servers have been

                                             12
Case 0:19-cv-62801-RNS Document 1 Entered on FLSD Docket 11/08/2019 Page 13 of 13



 damaged in the loss of minimum for one or more weeks of work with Defendant

 within the past five (5) years.

       WHEREFORE, Plaintiff, DELMY CRUZ, on her own behalf and other similarly

 situated servers, demands judgment against Defendant, SALT & PEPPER CHEF, for

 unpaid minimum wages, an additional and equal amount of liquidated damages,

 reasonable attorney’s fees and costs incurred in this action, an Order requiring

 Defendant to cease and desist from its unlawful practices and any and all further

 relief that this Court determines to be just and appropriate.

                                    Jury Demand

       Plaintiff demands a trial by jury on all issues so triable as a matter of right.

 Dated: November 8, 2019

                                                  Respectfully submitted,



                                       By:        /s/Robert S. Norell, Esq.
                                                  Robert S. Norell, Esquire
                                                  Florida Bar No. 996777
                                                  E-Mail: rob@floridawagelaw.com
                                                  ROBERT S. NORELL, P.A.
                                                  300 N.W. 70th Avenue
                                                  Suite 305
                                                  Plantation, Florida 33317
                                                  Telephone: (954) 617-6017
                                                  Facsimile: (954) 617-6018
                                                  Counsel for Plaintiff




                                             13
